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             ORAL ARGUMENT SCHEDULED FOR MARCH 7, 2024

            No. 23-1035 (consolidated with Nos. 23-1036, 23-1037, 23-1038)
                    ______________________________________

                 IN THE UNITED STATES COURT OF APPEALS
                 FOR THE DISTRICT OF COLUMBIA CIRCUIT


                       ELECTRIC ENERGY, INC., et al.,
                                              Petitioners,
                                    V.
        UNITED STATES ENVIRONMENTAL PROTECTION AGENCY, et al.,
                                              Respondents.
                  ______________________________________

                On Petition for Review of Final Agency Action of the
                 United States Environmental Protection Agency
                   ______________________________________

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                              GLOSSARY

APA                              Administrative Procedure Act

CCR                              Coal combustion residuals

EPA                              U.S. Environmental Protection Agency

RCRA                             Resource Conservation and Recovery Act of
                                 1976, 42 U.S.C. §6901 et seq.

USWAG                            Utility Solid Waste Activities Group

WBWT                             Waste below the water table




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                      SUMMARY OF THE ARGUMENT

      In January 2022, the U.S. Environmental Protection Agency (“EPA”)

announced for the first time a rule that “surface impoundments or landfills cannot

be closed with coal ash in contact with groundwater.” Doc. 2017251 at 14-15

(“Opening Br.”). EPA did so in a series of interrelated documents issued without

following the procedures required by the Administrative Procedure Act (“APA”)

and the Resource Conservation and Recovery Act (“RCRA”).                 EPA then

implemented that new rule nationwide—instructing States and regulated companies

to comply with it. Petitioners in related Case No. 22-1056 challenge EPA’s January

2022 action as an unlawful legislative rule. If the Court agrees with Petitioners in

that case and vacates the new rule, it should dismiss these consolidated protective-

only petitions because the matters within this Court’s jurisdiction will have been

fully resolved.

      In Case No. 22-1056, EPA contends that the new requirements for coal

combustion residuals (“CCR”) were not final. In November 2022, in the action

challenged here, however, EPA “reaffirm[ed]” the rule “that surface impoundments

or landfills cannot be closed with coal ash in contact with groundwater.”

JA644[EPA, “EPA Takes Final Action to Protect Groundwater from Coal Ash

Contamination at Ohio Facility” (Nov. 18, 2022) (“Nov. 18, 2022, Press Release”)].

And EPA restated the new definitions of “infiltration,” “free liquids,” and
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“impoundment” that implement the new “waste-below-the-water-table” or

“WBWT” prohibition—the label used by EPA since January 2022. This time, EPA

applied the rule in a final decision denying an extension of the deadline for the Gavin

Plant in Ohio to stop sending CCR to a surface impoundment at the plant.

      If the Court agrees with EPA that the new “WBWT” prohibition was not final

in January 2022, Petitioners here challenge that prohibition as it was reaffirmed in

the Final Gavin Denial—which EPA’s brief concedes is final agency action. The

waste-below-the-water-table prohibition is an unlawful legislative rule because

EPA, again, failed to follow statutory procedures for amending its regulations, failed

to acknowledge and reconcile the conflict with existing regulations, and failed to

consider Petitioners’ demonstrated reliance interests in the regulations on the books

since 2015.

      To avoid judicial review in this case too, EPA claims that its action was simply

an “order” that “appli[ed] … an existing rule.” Doc. 2027709 at 3 (“EPA Br.”). That

is true in a way—EPA did apply an existing rule, but it was one that the agency

unlawfully first announced in January 2022. And EPA’s action was not a run-of-

the-mill adjudication of an extension request. EPA received 57 similar requests by

November 2020 and, over three years later, has taken final action only on Gavin’s

request. EPA seized on this particular application as a convenient vehicle for

announcing and then “reaffirming” the new closure requirements so that the agency



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could use them as the legal basis for unrelated actions—including EPA’s proposed

disapproval of Alabama’s CCR permit program.

      In substance, the new requirements are statements of general applicability

designed to prescribe regulatory obligations.      They have the hallmarks of a

legislative rule—they conflict with the plain meaning of the codified regulations and

EPA’s contemporaneous explanations of them; invoke EPA’s statutory authority;

and are the basis for other EPA actions. EPA is prohibited from adopting new RCRA

requirements through case-by-case adjudications because RCRA solid waste criteria

must be “promulgate[d] [as] regulations.” 42 U.S.C. §6944(a). Had Petitioners been

provided the opportunity to comment before EPA issued the waste-below-the-water-

table ban, they could have demonstrated that EPA’s new prohibition is unnecessary

to protect groundwater and is contrary to available evidence.

      In short, if the Court dismisses the petitions in Case No. 22-1056 on finality

grounds, the Court should vacate EPA’s waste-below-the-water-table prohibition

and related definitions in this case as an unlawful legislative rule. That generally

applicable rule—which does not depend on the particular facts of the Gavin Plant—

is what is at issue in Case 22-1056 and here, not EPA’s denial of Gavin’s extension.

As to the latter, Gavin has challenged EPA’s site-specific allegations of non-

compliance and application of the 2022 Rule to the Gavin Plant in the U.S. District

Court for the Southern District of Ohio. See Gavin Power, LLC v. EPA, et al., Case



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No. 2:24-cv-41 (S.D. Ohio). That district court has exclusive jurisdiction for

challenges to EPA’s claims about compliance at the Gavin Plant.

                                    ARGUMENT

I.    This Court Has Jurisdiction Over the Rule That EPA Reaffirmed in the
      Final Gavin Denial.

      EPA’s brief mischaracterizes these protective petitions as challenges to the

deadline for closure of a specific CCR unit. EPA Br. 2. That effort fails because

district courts have exclusive jurisdiction over such facility-specific determinations.

Instead, Petitioners challenge the waste-below-the-water-table prohibition that EPA

announced on January 11, 2022, and that question is properly addressed in Case No.

22-1056, or here if the Court holds that the prohibition was not final in January 2022.

      A.     The Court Has Jurisdiction to Review the Waste-Below-The-
             Water-Table Prohibition and Related New Definitions.

      With EPA’s issuance of the Final Gavin Denial, there is no dispute that the

waste-below-the-water-table prohibition and new definitions are final agency action.

EPA now concedes finality, Article III standing, and this Court’s jurisdiction over

its action (although disputing the nature of its action). Id. at 19 n.1, 22.

      EPA’s generally applicable waste-below-the-water-table prohibition and

related definitions are the only “action of the Administrator in promulgating any

regulation, or requirement” properly before the Court. 42 U.S.C. §6976(a)(1).

Although EPA’s brief claims that the Final Gavin Denial was only “an informal

adjudication of a regulated entity’s request for an extension” (at 27), by EPA’s

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contemporaneous description, the Final Gavin Denial “reaffirm[ed] that surface

impoundments or landfills cannot be closed with coal ash in contact with

groundwater.” JA644[Nov. 18, 2022, Press Release].

      EPA’s decision to issue what in substance are generally applicable regulations

during an informal adjudication—i.e., a process that by definition avoids statutory

rulemaking procedures—does not alter this Court’s jurisdiction or the nature of

Petitioners’ challenge. “[A]fter an adjudication has ended, a party is free to argue

that the agency exceeded its authority or abused its discretion in adopting new

principles through adjudication instead of rulemaking.” See CSX Transp., Inc. v.

Surface Transp. Bd., 774 F.3d 25, 33 (D.C. Cir. 2014). By issuing new regulations

under the guise of an informal adjudication, EPA violated both the APA and RCRA,

and the Court has jurisdiction to vacate those requirements. Opening Br. 36-39.

      B.     The Court Lacks Jurisdiction to Review EPA’s Denial of Gavin’s
             Extension Request.

      Nor can EPA use this case as a vehicle to expand this Court’s RCRA

jurisdiction to encompass EPA’s site-specific application of its regulations to

individual extension requests by facilities across the country. Those questions are

properly reviewed in federal district courts. Indeed, EPA does not cite a single case

where this Court exercised RCRA jurisdiction over a site-specific application.

      EPA claims that its Gavin action, while final, is an “order” that “impose[s] a

new closure initiation ‘requirement’ under RCRA” on the Gavin Plant (at 19) and


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nothing more. And EPA incorrectly suggests that Petitioners are challenging EPA’s

denial of Gavin’s extension request. EPA Br. 3-4. But EPA cannot rewrite

Petitioners’ petitions for review and opening brief simply to expand the Court’s

original jurisdiction to include facility-specific determinations.

      EPA’s expansive view of Section 6976(a)(1) conflicts with RCRA’s plain

language, which vests jurisdiction in this Court only over EPA action “promulgating

any regulation, or requirement.” 42 U.S.C. §6976(a)(1). This list is exclusive. See

Am. Portland Cement All. v. EPA, 101 F.3d 772, 773 (D.C. Cir. 1996).

      Seeking to end-run this statutory limitation, EPA claims that its denial was an

“order” and all “orders” are somehow “requirements” subject to direct review in this

Court under RCRA.        EPA Br. 21-23 & n.2.          But the statute is clear that

“requirements” and “orders” are different. Compare 42 U.S.C. §6976(a)(1) (“action

of the Administrator in promulgating any regulation, or requirement”), with id.

§6976(a)(2) (“original order” containing “a determination under this chapter

required to be made on the record after notice and opportunity for hearing”). EPA

concedes (at 23) that its denial of Gavin’s extension request is not an “order” within

the meaning of 42 U.S.C. §6976(a)(2) because that provision refers only to some

determinations made by formal adjudication—in contrast to the informal Gavin

proceedings.    Thus, even if “orders” described in Section 6976(a)(2) may be




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reviewable under Section 6976(a)(1), as EPA theorizes, EPA’s action on Gavin’s

request is not one of them.

      EPA’s argument is contrary to its own regulations governing the extension

process (the “Part A” regulations issued in 2020). The denial of an extension is not

a “closure mandate.” EPA Br. 22. Instead, as EPA previously explained, the 2015

Rule itself (specifically, 40 C.F.R. §257.101(a)(1)) contains the relevant generally

applicable “requirement … to close.” 84 Fed. Reg. 65,941, 65,945 (Dec. 2, 2019).

EPA’s denial of an extension request, in contrast, merely rejects “an alternative

timeframe” to begin closure. Id. at 65,953.

      EPA’s jurisdictional argument rests on the false premise that “a facility’s

timely submission of a complete demonstration lifts the April 2021 deadline in the

2020 Rule for good.” EPA Br. 20 (second emphasis added). According to EPA (at

21), if it denies an extension, without setting a new deadline, there is “no regulatory

closure deadline” and the facility can continue to dispose of CCR indefinitely. That

is illogical and contrary to the plain language of EPA’s Part A regulations, which do

not “remove” the deadline upon the submission of a complete application but merely

“toll the facility’s deadline to cease receipt of waste until issuance of a decision[.]”

40 C.F.R. §257.103(f)(3)(ii) (emphases added); see also 85 Fed. Reg. 53,516,

53,550-51 (Aug. 28, 2020) (same).




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      Equating “tolling” with “removing”—the lynchpin of EPA’s jurisdictional

argument (at 20)—is contrary to the “ordinar[y]” legal usage of that term, which

means “suspend.” See Artis v. District of Columbia, 583 U.S. 71, 80-81 (2018)

(“Our decisions employ the terms ‘toll’ and ‘suspend’ interchangeably.”). And it is

contrary to EPA’s own contemporaneous explanation that the Part A regulations

“suspend [] the facility’s deadline.” 84 Fed. Reg. at 65,958 (emphasis added). Even

in its Gavin action, EPA explained that the “April 11, 2021 … regulatory deadline

to cease receipt of waste” remained in place even after Gavin’s submission of a

complete application.    JA367[EPA, Proposed Decision: Proposed Denial of

Alternative Closure Deadline for General James M. Gavin Plant at 82 (Jan. 11,

2022) (“Proposed Gavin Denial”)].

      EPA’s position has no limiting principle and risks filling this Court’s docket

with challenges to site-specific assessments for which Congress declined to provide

direct review in the Courts of Appeals. The APA’s definition of “order” cited by

EPA is any action “in a matter other than rule making.” EPA Br. 23 (emphasis

added). Thus, under EPA’s view, RCRA grants original jurisdiction to this Court

over both “regulations” and everything other than a regulation—i.e., everything

EPA does under RCRA. That view contorts the meaning of “requirement” beyond

any prior recognition—as this Court has held, Section 6976(a)(1) applies where

EPA’s action “constitute[s] a decision of uniform or widespread application.”



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Hazardous Waste Treatment Council v. EPA, 910 F.2d 974, 976 (D.C. Cir. 1990).

Section 6976(a)(1) is a “limitation on [this Court’s] jurisdiction,” Molycorp, Inc. v.

EPA, 197 F.3d 543, 545 (D.C. Cir. 1999)—not a “comprehensive” grant, as EPA

claims (at 19).

      When Congress intends to vest this Court with original jurisdiction over

individualized determinations (including facility-specific “orders”), it says so. See

Nat’l Ass’n of Mfrs. v. Dep’t of Def., 583 U.S. 109, 130-31 (2018) (Congress has

“carefully enumerated the seven categories of EPA action for which it wanted

immediate circuit-court review and relegated the rest to the jurisdiction of the federal

district courts”); Am. Portland Cement All., 101 F.3d at 775 (“Unlike … other

environmental statutes … RCRA does not explicitly provide for review of EPA

determinations in a Circuit Court of Appeals.”); see also, e.g., 42 U.S.C. §7607(b)(1)

(providing for review in this Court of “any order under” applicable provisions of the

Clean Air Act). Congress chose not to do that here.

II.   The Final Gavin Denial Reaffirms a Legislative Rule.

      As discussed above, EPA’s reframing of these protective petitions

mischaracterizes the Final Gavin Denial as solely an “order.” In substance, the Final

Gavin Denial reaffirms the generally applicable waste-below-the-water-table

prohibition and related definitions first announced in January 2022, which are a

legislative rule subject to RCRA’s and the APA’s procedural requirements.



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      A.     EPA Reaffirmed the 2022 Rule in the Final Gavin Denial.

      The Final Gavin Denial reaffirms a “rule” first announced by EPA in January

2022. Under the APA, a “rule” is “the whole or a part of an agency statement of

general or particular applicability and future effect designed to implement, interpret,

or prescribe law or policy.” 5 U.S.C. §551(4). The waste-below-the-water-table

prohibition and the new definitions of “infiltration,” “free liquids,” and

“impoundment” that create that prohibition—all of which are set out in the Final

Gavin Denial (Opening Br. 20-23)—easily meet that definition. EPA’s attempt to

“label[] its rule an ‘adjudication’” does not permit EPA to “escape the requirements”

of the APA and RCRA. Safari Club Int’l v. Zinke, 878 F.3d 316, 332 (D.C. Cir.

2017); see also Nat’l Ass’n of Home Builders v. U.S. Army Corps of Eng’rs, 417

F.3d 1272, 1285 (D.C. Cir. 2005) (“[R]ules is rules, no matter their gloss . . . we

have not hesitated to consider an agency pronouncement issued without meeting

required APA procedures a rule.”) (cleaned up).

      EPA claims that the Final Gavin Denial was only a “facility-specific”

determination based on “technical findings specific to the Gavin site.” EPA Br. 29.

But the particular facts of the Gavin Plant were irrelevant to the rule that Petitioners

challenge. EPA described a categorical prohibition: where “at least a portion of the

CCR in the [closed unit] remains in contact with groundwater,” “[t]hese facts alone”

mean that the owner cannot “demonstrate that the closure of the [unit] meets the



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performance standards in 40 C.F.R. §257.102(d).” JA019[EPA, Final Decision:

Denial of Alternative Closure Deadline for General James M. Gavin Plant at 19

(Nov. 18, 2022) (“Final Gavin Denial”)]. Thus, contrary to EPA’s claim (at 29),

individualized facts such as “the volume of saturated CCR that would remain after

closure” of Gavin’s unit and whether there was “groundwater flowing through the

[Gavin] unit” were immaterial to EPA’s decision because mere “contact” was

sufficient to violate EPA’s waste-below-the-water-table ban.

      Further, the agency did not base its action on a “f[i]nd[ing] that [the Fly Ash

Reservoir] continually releases leachate and/or CCR to the groundwater,” as EPA’s

brief claims (at 2). EPA found only that it “potential[ly]” could be. JA042[Final

Gavin Denial at 42]. Nowhere in the Final Gavin Denial or EPA’s brief does EPA

identify any data demonstrating groundwater contamination caused by the Gavin

CCR units. None of these facility-specific facts mattered. The rule that EPA

announced was “that surface impoundments or landfills cannot be closed with coal

ash in contact with groundwater”—period. Such a “generalized standard” is a “rule”

not an order. Safari Club, 878 F.3d at 332.

      Recognizing the general and future effect of its statements, EPA claims the

authority to “announc[e] new principles in an adjudicative proceeding.” EPA Br.

30. Whatever purchase that argument may have in other contexts, the plain language

of RCRA precludes it here.        Under RCRA, solid waste “criteria” must be



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“promulgate[d] [as] regulations.” 42 U.S.C. §6944(a). Solid waste “criteria”

“define those solid waste management practices which constitute the open dumping

of solid waste,” id. §6907(a)(3), which is precisely EPA’s purpose behind the new

rule, which EPA all but concedes (at 5).         Congress specifically denied EPA

discretion to announce these new criteria as “new principles” in an informal

adjudication rather than through rulemaking. See NLRB v. Bell Aerospace Co., 416

U.S. 267, 294 (1974) (agency may “announc[e] new principles in an adjudicative

proceeding” unless, as here, doing so would be “a violation of the Act”); cf. Nuestar,

Inc. v. FCC, 857 F.3d 886, 892 (D.C. Cir. 2017) (explaining that, unlike here, “the

statute’s text does not compel that all of the statutory requirements be implemented

through rulemaking”).

      B.     The Waste-Below-The-Water-Table Prohibition Is a Legislative
             Rule.

      The waste-below-the-water-table ban and related definitions of “infiltration,”

“free liquids,” and “impoundment” also bear the hallmarks of a legislative rule. See

Am. Mining Congress v. Mine Safety & Health Admin., 995 F.2d 1106, 1009 (D.C.

Cir. 1993); see also Nuestar, 857 F.3d at 893.

             1.    The New Rule Conflicts With the Plain Meaning of the 2015
                   Rule.

      EPA claims that the new requirements do not substantively change the

agency’s published regulations as adopted in 2015. EPA Br. 31. But EPA points to



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nothing in the 2015 Rule that references—much less bans—closure-in-place with

CCR “in contact with” groundwater. Under the 2015 Rule, closure of a CCR unit

may be completed “either by leaving the CCR in place and installing a final cover

system or through removal of the CCR and decontamination of the CCR unit” (what

EPA calls “clean closure”) and does not place preconditions on either. 40 C.F.R.

§257.102(a) (emphases added). In EPA’s words, the 2015 Rule does not “establish

restrictions on the situations in which clean closure would be appropriate.” 80 Fed.

Reg. 21,302, 21,412 (Apr. 17, 2015).           EPA’s waste-below-the-water-table

prohibition “is irreconcilable with” this plain text and EPA’s contemporaneous

explanation and is thus a legislative rule. Am. Mining Congress, 995 F.2d at 1009

(internal quotation marks omitted).

      Instead of identifying any provision of the 2015 Rule that bans closure-in-

place with CCR “in contact with groundwater,” EPA suggests that it does not

actually hold that position. EPA’s brief claims the agency “has been abundantly

clear that clean closure is not required and that a unit may close with CCR in place,

so long as its closure meets the [performance standards] in Section 257.102(d).”

EPA Br. 38. But EPA’s carefully worded statement does not disclaim the categorical

ban against closure-in-place with CCR in contact with groundwater. Instead, EPA

simply assumes, as the categorical rule reaffirmed in the Final Gavin Denial requires,

that all “groundwater had been removed from the unit prior to start of [closure-in-



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place],” JA042[Final Gavin Denial at 42], which is just another way of stating the

categorical ban the agency announced in January 2022. Whichever way EPA says

it, the new rule effectively compels the removal of all CCR from a unit when CCR

contacts groundwater—and with it the extreme costs and environmental impacts of

excavating, transporting, and disposing of it elsewhere.

       EPA’s brief (at 37-38) does not substantively address the agency’s prior

conflicting response to comments in the 2015 Rule. There, EPA stated without

qualification that “in cases where the base of an existing or abandoned surface

impoundment or landfill is shown to be below the natural water table” “[the 2015]

[R]ule does not require clean closure of any unit.” JA637[EPA, Comment Summary

and Response Document, Vol. 9, EPA-HQ-RCRA-2009-0640-12132, at 197 (Dec.

2014) (“RTC”)] (emphases added). EPA does not and cannot reconcile its prior

position with the new waste-below-the-water-table prohibition.

      EPA claims (at 31-33) that it derived its new definitions of “infiltration,” “free

liquids,” and “impoundment” from “straightforward interpretations” of the 2015

Rule. But the definitions reaffirmed in the Final Gavin Denial conflict with and

amend the existing regulatory definitions and plain text of the 2015 Rule (Opening

Br. 21-23, 42-43), and thus they are a legislative rule. Am. Mining Congress, 995

F.2d at 1112.




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      Infiltration. For its new definition of “infiltration,” EPA selects a particular

dictionary definition to impose an obligation to address “infiltration” “from any

entry and exit point.” EPA Br. 33. But the text, structure, and purpose of Section

257.102(d)(1)(i) demonstrate that the requirement to “control, minimize or

eliminate, to the maximum extent feasible, post-closure infiltration” has a technical

meaning that is directed at the “final cover system.”                See 40 C.F.R.

§257.102(b)(1)(iii) (“If closure of the CCR unit will be accomplished by leaving

CCR in place,” “the final cover system” is how the unit “will achieve the

performance standards specified in paragraph (d) of this section.”). EPA confirmed

this reading in the preamble to the 2015 Rule. 80 Fed. Reg. at 21,413-14. EPA’s

brief points to nothing in the text, context, or purpose of the 2015 Rule that expands

the scope of the “infiltration” requirement to the lateral flow of groundwater.

      Free Liquids. EPA claims (at 32) that the phrase “free liquids” includes all

“groundwater.” But the 2015 Rule already defines “free liquids” and “groundwater”

as separate and distinct technical terms, and neither mentions the other. See 40

C.F.R. §257.53. EPA’s argument that “[i]t is beyond reasonable dispute that water,

under ambient temperature and pressure, is a liquid” (at 32) is no answer because,

while groundwater may be a liquid, it is not a “free liquid” as that term is defined in

the 2015 Rule. “Groundwater” is separately defined as “water below the land surface

in a zone of saturation.”     40 C.F.R. §257.53 (emphasis added).         Treating all



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“groundwater” as “free liquids” ignores that the latter exists only “under ambient

temperature and pressure” and effectively eliminates the regulatory distinction

between these terms.

      Impoundment. EPA would also “interpret[]” the term “impoundment” in

Section 257.102(d)(1)(ii) using a “general usage [dictionary] definition” (at 36) even

though the existing regulations themselves already contain a more precise definition.

See 40 C.F.R. §257.53 (defining “CCR surface impoundment or impoundment”

(emphasis added)). The existing definition of “impoundment” in Section 257.53

“appl[ies] to this subpart,” which includes Section 257.102(d)(1)(ii). Thus, the term

“‘[i]mpoundment’ in Section 257.102(d)(1)(ii) must take its meaning from” Section

257.53, not from “the general usage [dictionary] definition.” EPA Br. 36. That

existing definition of “impoundment” does not encompass groundwater in a drained

and closed CCR unit, as EPA’s new definition does, but rather refers to a “pond”

with visible water that is “designed to hold an accumulation of CCR and liquids.”

USWAG v. EPA, 901 F.3d 414, 454 (D.C. Cir. 2018) (Henderson, J., concurring)

(emphasis in original) (quoting 40 C.F.R. §257.53) (internal quotation marks

omitted). EPA’s new definition is so broad that it would even treat landfills that

intersect groundwater as “impoundments,” when the two have different regulatory

definitions. See 40 C.F.R. §257.53.




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      Finally, the Court should reject EPA’s tepid request for deference regarding

these terms, raised only in passing in a footnote. EPA Br. 38 n. 8. EPA has not

identified any provision of the 2015 Rule that it contends is “genuinely ambiguous,”

and, thus, the threshold requirement for deference is absent. Kisor v. Wilkie, 139 S.

Ct. 2400, 2414 (2019). Indeed, EPA forfeited any claims to deference by asserting

that the regulations are unambiguous and failing to seek deference in Case No. 22-

1056 or invoke it in the Final Gavin Denial. See Neustar, 857 F.3d at 893-94

(discussing forfeiture). In any case, courts do not defer to agency interpretations that

“create ‘unfair surprise’ to regulated parties,” as here. Kisor, 139 S. Ct. at 2417-28.

             2.     EPA Explicitly Relied on Its Legislative Authority.

      EPA’s reliance on RCRA’s “statutory safety standard” (at 13) confirms that

the agency has adopted a new legislative rule. Contrary to EPA’s brief (at 43), in

the Final Gavin Denial the agency expressly invoked EPA’s legislative rulemaking

authority in 42 U.S.C. §6944(a). See, e.g., JA040[Final Gavin Denial at 40] (relying

on 42 U.S.C. §6944(a), which provides that “the Administrator shall promulgate

regulations containing criteria for determining which facilities shall be classified as

sanitary landfills”). Doing so confirms that the Final Gavin Denial was a legislative

rule. Am. Mining Congress, 995 F.2d at 1112.

      EPA’s further reliance on this Court’s decision in USWAG—not as precedent

concerning the meaning of closure regulations, which were not at issue in that case,



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but as a statement of what the statute supposedly requires—confirms EPA is engaged

in legislative rulemaking. EPA argues that “[i]f an unlined impoundment that could

leak fails RCRA’s standard for a sanitary landfill, an unlined impoundment with

groundwater flowing into and out of it certainly fails.” EPA Br. 37. But in USWAG,

EPA told the Court the opposite: that “potential—or even actual—leaking of a CCR

impoundment will not necessarily result in contamination of groundwater, either

above allowable regulatory thresholds, or at all.” EPA Br. 85, USWAG v. EPA, 901

F.3d 414 (D.C. Cir. 2018) (No. 15-1219). In other words, when it drafted the 2015

Rule, EPA had concluded that the statutory standard did not require keeping all CCR

entirely out of contact with groundwater. If EPA now believes that some aspect of

the USWAG decision requires revising the closure provisions (even though USWAG

did not address those provisions at all), it must revise the 2015 Rule through notice-

and-comment rulemaking, as EPA is doing for the provisions of the 2015 Rule that

were actually at issue in USWAG. See 88 Fed. Reg. 31,982 (May 18, 2023)

(proposing to regulate “legacy units” following USWAG).

      In any case, as to closure, the 2015 Rule is more than sufficient to meet

RCRA’s standard—without EPA’s waste-below-the-water-table prohibition and

new definitions. As EPA found then, closing an impoundment by draining the

standing water and installing a final cover system eliminates the hydraulic head—

i.e., the pressure that is exerted by the ponded water in an open surface



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impoundment. 80 Fed. Reg. at 21,342. It is this pressure that EPA found “promotes

more rapid leaching of contaminants” into groundwater and was the primary risk

driver identified by EPA in 2015. Id. at 21,328. After the impoundment is drained

and a final cover is installed, the risks of groundwater contamination “drop

dramatically” to be “negligible” as compared to impoundments that are closed by

removing the CCR and disposing of it elsewhere. JA138-39[EPA, Human and

Ecological Risk Assessment of Coal Combustion Residuals at 5-28 to 5-29 (Dec.

2014)]. And the 2015 Rule requires groundwater monitoring for a minimum of thirty

years and corrective action if contaminants are detected above defined levels, to

address any remaining risk. See 40 C.F.R. §§257.104(b)(3), 257.104(c), 257.98.

             3.    EPA Is Using the Requirements in the Final Gavin Denial as
                   Positive Law.

      EPA does not dispute that it relied on the Final Gavin Denial in proposing to

disapprove Alabama’s CCR permit program. EPA Br. 39-40. And EPA concedes

(at 41) that it did not inform the Alabama Department of Environmental

Management of the waste-below-the-water-table prohibition until after January

2022, confirming that the 2022 Rule (as reaffirmed in the Final Gavin Denial) was

used to fill what EPA perceived to be a legislative gap in the 2015 Rule.

      EPA claims (at 40) that the Final Gavin Denial was “simply … an example

that illustrated how Section 257.102(d) applies.” But EPA cited the Final Gavin

Denial as legal authority for generally applicable requirements and never once


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mentioned specific details from the Gavin Plant to “illustrate” anything. See, e.g.,

88 Fed. Reg. 55,220, 55,237 (Aug. 14, 2023) (citing Final Gavin Denial for the

general proposition that “groundwater” is “a ‘liquid’ under the existing regulation”).

Indeed, in the Alabama proposal, EPA itself characterized the Final Gavin Denial as

EPA’s “decision to rely on the plain language meaning of ‘infiltration’” over the

technical meaning used in the 2015 Rule and throughout EPA’s historical

implementation of RCRA. Id. (emphasis added). And contrary to EPA’s brief (at

40), the “operative regulations” alone could not have provided the legal basis for

EPA’s proposed disapproval because the “express terms” of Alabama’s regulations

“mirror” the federal regulations. 88 Fed. Reg. at 55,225.

III.   EPA Cannot Excuse Its Failure to Follow Statutory Requirements for
       Promulgating New RCRA Rules by Claiming Harmless Error.

       EPA concedes that it did not follow the procedures required by RCRA and the

APA but claims its failure was harmless error because the agency solicited limited

comments on its proposed denial. EPA Br. 46-47. But this Court has made clear

that vacatur is required where, as here, EPA “wholly fail[s]” to comply with

rulemaking procedures. NRDC v. Wheeler, 955 F.3d 68, 85 (D.C. Cir. 2020). The

Court has “‘not been hospitable to government claims of harmless error’” in the face

of this “‘most egregious’” breach of an agency’s duties. Id. (quoting Allina Health

Servs. v. Sebelius, 746 F.3d 1102, 1109 (D.C. Cir. 2014)).




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      Thus, when an EPA rule under RCRA is “not issued pursuant to APA

rulemaking procedures, there are only two options: ‘Either the petition must be

dismissed … because the [rule] is not a final regulation’” “‘or [the rule] should be

vacated’ on the merits because it is a final regulation but was promulgated in

violation of the APA.” Cement Kiln Recycling Coal. v. EPA, 493 F.3d 207, 226

(D.C. Cir. 2007) (quoting Gen. Elec. Co. v. EPA, 290 F.3d 377, 385 (D.C. Cir.

2002)).

      Ignoring these authorities, EPA asserts that Petitioners must overcome the

APA’s general harmless-error rule, citing Window Covering Manufacturers

Association v. CPSC (“WCMA”), 82 F.4th 1273 (D.C. Cir. 2023). EPA Br. 46-47.

But WCMA is inapposite. There, everyone agreed the agency was adopting a

legislative rule; the challenge instead concerned the agency’s failure to include

“injury-incident summaries” in its proposal in time for commenters to review them.

WCMA, 82 F.4th at 1284. In that sort of case, petitioners must show that they would

have had something useful to say if the agency had made the missing information

available. Id. In contrast, where, as here, an agency adopts a legislative rule without

acknowledging as much or proposing revisions to the regulations at all, this Court

vacates the rule so the agency can follow the mandatory procedures for amending

regulations. Wheeler, 955 F.3d at 85; see also Poet Biorefining, LLC v. EPA, 970




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F.3d 392, 406 (D.C. Cir. 2020) (“if [a rule] is legislative we must invalidate it at the

outset as never having been subjected to notice and comment”).

      If accepted, EPA’s position would permit agencies to ignore the statutory

prerequisites for promulgating and amending regulations. Under EPA’s view, so

long as someone makes some comment on the agency’s position, it makes no

difference if EPA fails to publish a rule in the Federal Register or amend its existing

regulations to reflect a change. Agencies cannot “introduce a proposed rule in this

crabwise fashion.” McLouth Steel Prods. Corp. v. Thomas, 838 F.2d 1317, 1322-23

(D.C. Cir. 1988) (invalidating EPA rule contained in “notice of six proposed

delistings”). EPA’s position would make a hash out of the Code of Federal

Regulations, allowing agencies to functionally amend and ignore their published

rules in individualized adjudications so long as they allow public participation. That

obviously is not the law—“[i]t is axiomatic that an agency must adhere to its own

regulations[.]” Brock v. Cathedral Bluffs Shale Oil Co., 796 F.2d 533, 536 (D.C.

Cir. 1986).

      Moreover, even assuming prejudice were required here, that low bar would

easily be satisfied. To show prejudice, a petitioner need only “show[] that it ha[s]

something useful to say” and “is not required to show that its comments would have

persuaded the agency to reach a different outcome.” WCMA, 82 F.4th at 1284-85

(internal citations and quotation marks omitted). Here, EPA never acknowledged



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that it was changing position nor sought comment on the new rule. See JA325-

33[Proposed Gavin Denial at 40-48]. Indeed, in addressing the limited comments

that were submitted, EPA conceded that “EPA only requested comment on its

application of the regulations to Gavin in the Proposed Decision.” JA085[Final

Gavin Denial at 85]. Petitioners were thus deprived of the opportunity to review

proposed regulatory text, offer their own generally applicable data, or propose

regulatory alternatives. Because EPA failed to disclose that it was making a pure

policy choice, it deprived Petitioners and the public of the opportunity to engage

with the agency on those terms.

      In addition, the Final Gavin Denial included new rationales absent from the

Proposed Gavin Denial—including EPA’s new generally applicable finding that

“contact with groundwater” causes “the continued formation of leachate in the

closed unit [and] the continued releases of that leachate into the surrounding

groundwater.” JA031,033,038[Final Gavin Denial at 31, 33, 38]. Had Petitioners

been provided the opportunity to comment on these issues, they could have

submitted data demonstrating that CCR below the water table in a closed unit does

not automatically result in releases of leachate into the surrounding groundwater

because the hydraulic head from the ponded surface water has been eliminated as

required by the 2015 Rule. In fact, in EPA’s ongoing proceeding to amend the 2015




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Rule, commenters have done just that. See JA672-73[Comments of the Luminant

Companies, EPA-HQ-OLEM-2020-0107-0341, at 24-25 (July 17, 2023)].

IV.    The Rule Is Arbitrary and Capricious and Unlawful.

       EPA makes no attempt to acknowledge or justify its change in position. EPA

Br. 47-48. Its refusal to acknowledge “that it is changing position” is a textbook

APA violation that requires vacatur. Encino Motorcars, LLC v. Navarro, 579 U.S.

211, 221 (2016) (internal citation and quotation marks omitted). And it means that

EPA failed to consider reliance interests or to explain why the new policy was

warranted despite substantial industry investments in existing closure options. See

id. at 222.

       In fact, EPA stood by for years while regulated facilities posted closure plans

(certified by Qualified Professional Engineers, see Opening Br. 54-55) and began

implementing them through substantial investments in physical modifications to

plant operations. Contrary to EPA’s claim (at 11), Gavin’s application—and the 56

other applications—were not EPA’s “first opportunity to evaluate the adequacy of

closure plans.” Under the 2015 Rule, closure plans were required to be certified by

October 2016, 40 C.F.R. §257.102(b)(2), and, just two months later, EPA claims

that Congress gave it the authority in the WIIN Act to enforce violations of the

closure requirements, EPA Br. 5-6. EPA’s “conspicuous inaction” over the next five

years—during which EPA claims to have possessed direct enforcement and



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oversight authority—gave regulated parties no reason to foresee EPA’s January

2022 pronouncements, let alone revise their closure plans.             Christopher v.

SmithKline Beecham Corp., 567 U.S. 142, 158 (2012). It is unlawful “to ignore such

matters.” FCC v. Fox Television Stations, Inc., 556 U.S. 502, 515 (2009).

      That is true whether the Final Gavin Denial is a “rule” setting out new

requirements or whether it was an “order.” EPA Br. 28-30. “New rules set through

adjudication must meet the same standard of reasonableness as notice and comment

rulemaking.” Circus Circus Casinos, Inc. v. NLRB, 961 F.3d 469, 476 (D.C. Cir.

2020).

      As for fair notice, EPA says that Petitioners do not cite a prior instance in

which EPA endorsed Petitioners’ reading of the regulations. EPA Br. 49. But from

the very beginning, EPA did just that by expressly stating in response to comments

on the 2015 Rule that the “rule does not require clean closure of any unit” even “in

cases where the base of an existing or abandoned surface impoundment or landfill is

shown to be below the natural water table.” JA637[RTC at 197]. Seven years later,

facilities that complied with EPA’s contemporaneous explanation of the 2015 Rule

were suddenly and, in some cases, retroactively declared out of compliance by

EPA’s declaration in January 2022 that no CCR unit with CCR in contact with

groundwater may use the closure-in-place option.




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V.    This Court Lacks Jurisdiction to Review Gavin-Specific Findings But if
      the Court Disagrees It Should Hold That They Are Unlawful.

      As explained, this Court does not have jurisdiction over EPA’s application of

existing requirements to Gavin—that matter is presently pending in the U.S. District

Court for the Southern District of Ohio. See supra at 3-9; Opening Br. 52-53. But
                                                   1
even if it did, EPA’s determinations are unlawful.

      First, EPA’s retroactive application of its unlawful 2022 Rule to Gavin’s

previously-closed Fly Ash Reservoir is arbitrary and capricious. In addition to

ignoring Gavin’s reliance interests and depriving Gavin of fair notice, Opening Br.

48-50, EPA asks this Court to ignore the extensive post-closure groundwater

monitoring and corrective action requirements in the 2015 Rule, claiming (at 16)

that its newly-announced requirements are necessary to prevent “abandon[ment of]

millions of tons of coal ash in groundwater as a perpetual source of contamination

for drinking water supplies.” There is no such gap in the existing regulatory regime.

Rather, for units that are closed-in-place, like the Fly Ash Reservoir, the 2015 Rule

requires an extensive monitoring network for a minimum of thirty years and

corrective action if there are certain levels of contaminants in groundwater. See 40

C.F.R. §§257.104(b)(3), 257.104(c), 257.98.




1 Section V is offered only by Petitioner Gavin.




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      Second, as EPA concedes (at 55), Petitioners do not challenge EPA’s authority

to enforce its CCR regulations in this case. An EPA enforcement action must be

pursued in district court, 42 U.S.C. §6928(a)(1), and an EPA enforcement order

under RCRA is similarly challenged in a district court, 5 U.S.C. §703. This
                                                                                     2
underscores EPA’s improper end-run around the RCRA judicial review provisions.

      Importantly, Gavin made the necessary demonstration under the Part A

regulations, by demonstrating that, among other things, the facility “is in compliance

with all of the requirements of this subpart.” 40 C.F.R. §§257.103(f)(1)(iii),

(f)(2)(iii). The regulations require a Qualified Professional Engineer to certify

compliance and do not require EPA’s approval. Id. §257.102(b)(4). When EPA

promulgated the 2015 Rule, it specified that its goal was to “ensure that the [closure

performance standards] are sufficiently objective and technically precise that a

qualified professional engineer will be able to certify that they have been met.” 80

Fed. Reg. at 21,337. With its certifications, Gavin was and is in compliance. Closure

plans documenting the steps to complete closure were prepared and followed in

accordance with 40 C.F.R. §257.102(b).           Gavin installed and operates its

groundwater monitoring network, id. §257.91(a)(2), has implemented sampling and




2 To the extent EPA seeks a preemptive declaration regarding waiver of any
challenges to “EPA’s findings,” that issue is not before this Court and is for a
subsequent court to decide.

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analysis procedures, id. §257.93, and has completed written alternate source

demonstrations, id. §257.94(e)(2).      A Qualified Professional Engineer issued

certifications confirming compliance with each of those requirements. See e.g., id.

§§257.91(f),   257.93(f)(6),     257.94(e)(2),   257.102(b)(4),   257.102(d)(3)(iii),

257.102(f)(3). All required information was placed in an operating record, all

required notifications were provided to the State Director, and all required material

was posted to a CCR compliance website. See id. §§257.105, 106, 107. EPA does

not argue otherwise. See JA615[EPA, Response to Comments on Proposed Gavin

Denial at 172 (Nov. 2022)].

      EPA now claims that Gavin may not rely on certifications to demonstrate

compliance. EPA Br. 53-55. But the current regulations make clear that EPA does

not stand in the shoes of a Qualified Professional Engineer, see 40 C.F.R.

§257.102(b)(4)—that would require that EPA be “the permitting authority” under a

federal CCR permitting program, id., which EPA has failed to adopt. 85 Fed. Reg.

at 53,519; 83 Fed. Reg. 36,435, 36,439 (July 30, 2018). EPA lacks authority to do

indirectly now what it may intend to do in a future permitting program.

                                   CONCLUSION

      The Court should vacate the waste-below-the-water-table prohibition and

related new definitions.




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Dated: January 31, 2024              Respectfully submitted,


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                      CERTIFICATE OF COMPLIANCE

      The undersigned counsel states that this document complies the Court’s Order

of August 8, 2023, because it contains 6,471 words, as counted by Microsoft Word,

excluding the parts excluded by Fed. R. App. P. 32(f) and D.C. Circuit Rule 32(e)(1).

This document also complies with typeface and type-style requirements of Fed. R.

App. P. 32(a)(5) & (6) because it has been prepared in a proportionally spaced

typeface in 14-point Times New Roman font.



Dated: January 31, 2024

                                              s/ P. Stephen Gidiere III
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                          CERTIFICATE OF SERVICE

      I certify that on this 31st day of January, 2024, a copy of the foregoing

document was served electronically through the Court’s CM/ECF system on all

registered counsel.



Dated: January 31, 2024



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